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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-CV-20707-JEM/BECERRA

  In re: Application Pursuant to
  28 U.S.C.§ 1782 of

  FARHAD AZIMA

                 Petitioner,

  v.

  INSIGHT ANALYSIS AND RESEARCH, LLC, and
  SDC-GADOT, LLC,

              Respondents.
  ______________________________________________/

                    MOTION TO COMPEL COMPLIANCE WITH D.E. 62

         Pursuant to Fed. R. Civ. Proc. 26(b), Petitioner Farhad Azima requests that the Court

  compel Respondents Insight Analysis and Research LLC (“Insight”) and SDC-Gadot LLC

  (“Gadot”) (collectively the “Respondents”) to produce documents as ordered by this Court in

  January 2023 (see Docket Entry (“D.E.”) 62). Specifically, Petitioner requests that the Court order

  Respondents to submit an affidavit to the Court advising what measures they took to comply with

  D.E. 62. As the Court may recall, a status conference was held in December 2022 to address, in

  part, Petitioner’s claim that Respondents had failed to adequately respond to subpoenas for

  documents. Notably, this was the most recent of a series of attempts by Petitioner to obtain

  meaningful discovery from the Respondents. (See, e.g., D.E.s 32 and 40.)

         In D.E. 62, the Court specified what documents Respondents were to look for and, if found,

  produce to Petitioner. The Court ordered Respondents to produce the following: (1) bank records

  reflecting payments to vendors, subcontractors, and employees of Gadot Information Services

  (“Gadot Israel”), (2) accounting records relating to payments to entities on a list provided by

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  Petitioner, (3) e-mails related to the movement of funds for transactions identified by Petitioner,

  and (4) WhatsApp, Signal, Silent Circle, and other messaging service communications relating to

  the movement of funds for transaction identified by Petitioner. Petitioner articulated why such

  documents are related to the pending U.K. Proceeding at the December 2022 status conference

  and subsequent related filings.

         Despite this order, Respondents have yet again failed to produce documents sufficient to

  fulfill their production obligations and continue to ignore Petitioner’s efforts to meet and confer

  about such production deficiencies. In terms of what Petitioner has received, Respondents

  produced 862 pages of documents to Petitioner. The production contained financial records,

  messaging app screenshots of a single conversation between Petitioner and Stuart Page, and

  publicly available corporate filings with the Florida Secretary of State. Importantly, all of these

  documents (besides a handful of recent public filings) were already in Petitioner’s possession –

  which the Respondents knew – as Petitioner provided these documents to Respondents as

  deposition exhibits or exhibits to pleadings filed. These documents were referenced during the

  December 2022 status conference, as a basis for which Petitioner had reasonable grounds to

  believe additional relevant documents were in Respondents’ possession.

         Rather than look for additional documents to satisfy the discovery ordered in D.E. 62, it

  appears that Respondents simply copied what Petitioner provided to them as the deposition and

  pleading exhibits and produced those documents to Petitioner. The only new documents produced

  by Respondents were sixteen pages of recent publicly available corporate filings. As such,

  Petitioner submits that it appears Respondents have not made a good faith attempt to meaningfully

  search for and/or obtain any other responsive materials.

         To address this issue in an amicable manner, on February 10, 2023 Petitioner sent a letter



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  to Respondents’ counsel raising the production deficiency and requesting a meet and confer. Three

  days later, Petitioner sent Respondents proposed search terms to cure this deficiency. After

  hearing no response from Respondents’ counsel, Petitioner again requested a meet and confer on

  March 21 and 22, 2023. On March 28, 2023, Respondents finally sent Petitioner a letter stating

  that their sole production consisted of “all that is in the possession, custody, or control of Insight

  and SDC-Gadot.”

         The Court should grant the relief requested herein because Petitioner’s discovery request

  is more than reasonable and particularized. Federal Rule of Civil Procedure 26(b) provides, in

  pertinent part, that parties may obtain discovery regarding any non-privileged matter that is

  relevant to any party's claim or defense. Fed. R. Civ. P. 26(b)(1). Relevant information need not

  be admissible at the trial if the requests appear reasonably calculated to lead to the discovery of

  admissible evidence. Id. The purpose of discovery is to allow a broad search for facts, the names

  of witnesses, or any other matters that may aid a party in the preparation or presentation of his

  case. Vanderwall v. United Airlines, Inc., No. 14-60256, 2014 WL 12495288, at *1 (S.D. Fla. Oct.

  17, 2014). Courts have long recognized the wide scope of discovery allowed under the Federal

  Rules of Civil Procedure. See Burn v. Thiokol Chem. Corp., 483 F.2d 300, 304 (5th Cir. 1973)

  (citations omitted).

         Petitioner submits that Respondents should be ordered to advise the Court as to what

  measures and protocols they took to comply with D.E. 62. Indeed, simply stating they have “no

  documents” is, yet again, insufficient given the background of this matter. For example, it defies

  logic that Respondents do not have records showing payments to their vendors, subcontractors,

  and employees. Nor does it seem likely that search of Mr. Forlit’s two e-mail addresses associated

  with Respondent SDC-Gadot (“amit@gadot.co” and “amit001@me.com”) – one of which has a



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  “gadot” company address – yielded absolutely no documents when, in fact, those e-mail addresses

  were valid and known to be in use. Respondents acknowledged receipt of Petitioner’s proposed

  search terms but did not say whether they applied them at all, or what if any hits resulted. To be

  clear, Petitioner is not seeking personal data from the incorporator of the Respondents, that is,

  Amit Forlit. Rather, Petitioner simply seeks a true good faith effort to obtain e-mails and work

  data generated by and for or held by the Respondents, or documents that are corporate documents.

         Wherefore, respectfully, Petitioner seeks relief from the Court in the form of an order

  compelling Respondents to fulfill their production obligations in compliance with D.E. 62.

  Petitioner also suggests that Respondents provide the Court with the list of search terms that they

  have run, the number of documents comprising the universe search, and the number of hits yielded

  from the search terms run, to show that they adequately searched for responsive materials.


                                               Respectfully submitted,

  Dated: April 14, 2023                        s/ Vanessa Singh Johannes
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 14, 2023, a true and correct copy of the foregoing document

  was filed via CM/ECF and served on counsel for the Respondents named in this matter,

  Christopher S. Salivar and Elan I. Baret, via such means.



                                                       s/ Vanessa Singh Johannes
                                                        Vanessa S. Johannes




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